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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION


 MICHAEL GOULDIE,
               Plaintiff,

 v.                                                     CIVIL ACTION
                                                        NO. 5:21-cv-00088-TES
 TRACE STAFFING SOLUTIONS, LLC,
                 Defendant.


                    JOINT MOTION FOR SETTLEMENT APPROVAL

       Plaintiff Michael Gouldie (“Plaintiff”) and Defendant Trace Staffing Solutions, LLC

(“Defendant”) (collectively “the Parties”), by and through their undersigned counsel, jointly move

for Court approval of the mutually agreed-upon terms of settlement in this action, in which Plaintiff

seeks allegedly unpaid overtime compensation pursuant to the Fair Labor Standards Act (“FLSA”).

Because this action and Plaintiff’s claim arise under the Fair Labor Standard Act (“FLSA”), the

Parties’ settlement agreements must be approved by this Court and said approval must be entered

as a stipulated final judgment.

       Plaintiff filed his Complaint on March 15, 2021, alleging that Defendant improperly

classified him as an exempt employee and failed to pay overtime in violation of the Fair Labor

Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (“FLSA”). Defendant denies

Plaintiff’s allegations that he was improperly classified as an exempt employee, that he was not

compensated properly, that he is entitled to overtime compensation, and that he is entitled to any

damages whatsoever under the FLSA. However, the Parties and their counsel both understood the

risks of continuing to litigate this matter, including Plaintiff receiving no compensation or

Defendant being liable for more that it believes is owed. Each Party believes this settlement is a
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fair and reasonable compromise of all claims under the FLSA and respectfully asks this Court to

approve the Parties’ settlement.

       There are two ways that FLSA claims may be settled, compromised, or released. Lynn’s

Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982). The first, which has

no application in the instant case, permits resolution of claims under the supervision of the United

States Department of Labor. Id. The second, which does apply in the instant case, permits judicial

approval of disputed claims on terms that are fair and reasonable:

       Settlements may be permissible in the context of a suit brought by employees under
       the FLSA for back wages because initiation of the action by the employees provides
       some assurance of an adversarial context. The employees are likely to be
       represented by an attorney who can protect their rights under the statute. Thus,
       when the parties submit a settlement to the court for approval, the settlement is
       more likely to reflect a reasonable compromise of disputed issues than a mere
       waiver of statutory rights brought about by an employer’s overreaching. If a
       settlement in an employee FLSA suit does reflect a reasonable compromise over
       issues, such as FLSA coverage or computation of back wages that are actually in
       dispute, we allow the district court to approve the settlement in order to promote
       the policy of encouraging settlement of litigation.

Id. at 1354.

       When asked to review and approve the terms of settlement under the FLSA, there is a

“strong presumption” in favor of approval. Wingrove v. D.A. Technologies, Inc., 2011 WL

7307626, *2 (N.D. Ga. Feb. 11, 2011); see also Parker v. Chuck Stevens Chevrolet of Atmore,

Inc., No. 12-0461-WS-C, 2013 WL 3818886, *2 (S.D. Ala. July 23, 2013) (“In reviewing FLSA

settlements under Lynn’s Food, courts should be mindful of the strong presumption in favor of

finding a settlement fair.”). The settlement of the instant action involves a situation in which the

Court may approve the Parties’ settlement agreements to resolve and release Plaintiff’s FLSA

claims against Defendant. The proposed settlement arises out of an action brought by the Plaintiff

against his former employer, which was adversarial in nature. During the litigation and settlement

of this action, Plaintiff was represented by experienced counsel.


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        The Parties agree that the instant action involves disputed issues regarding the payment of

overtime wages under the FLSA. The Parties dispute whether Plaintiff was exempt from overtime

and paid for all hours worked. Defendant contends that Plaintiff was properly classified as exempt

and compensated for all hours worked, while Plaintiff alleges that he did not perform exempt duties

and that Defendant owes him an overtime premium for all time worked over 40 hours per week. The

Parties also dispute the number of hours Plaintiff worked, including whether he even worked over

40 hours per week. The Parties further dispute whether the two-year or three-year statute of

limitations applies, as well as whether liquidated damages are appropriate. Defendant contends that

it can satisfy the elements of the “good faith defense” to liquidated damages, 29 U.S.C. § 260, and

that its conduct was not willful so that the two-year statute of limitations applies to Plaintiff’s claim,

29 U.S.C. § 259. Plaintiff contends that liquidated damages are appropriate, and that the three-year

statute of limitations applies to his claims. However, if the two-year statute applies, Plaintiff’s claim

would be completely time-barred.

        The Parties agree that the settlement negotiated and reached by the Parties reflects a

reasonable compromise of the disputed issues. The Parties’ counsel discussed the disputed factual

and legal issues over the phone and over electronic mail. The Parties also conducted their own fact

investigations into the allegations, briefed conditional certification, formulated their own damages

calculations, exchanged written discovery, and engaged in third-party discovery. The Parties then

engaged in settlement discussions based upon their independent calculations, the results of their

respective investigations, and the discovery produced. The Parties, through their attorneys,

voluntarily agreed to the terms of their settlement agreements during negotiations. All Parties were

counseled and represented by their respective attorneys throughout the litigation and settlement

process.




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       Where the parties’ proposed settlement is facially reasonable, an in-depth analysis of the

requested attorney’s fees is unnecessary. See Hirsch v. Mister Sparky, Inc., No. 1:09-cv-2897-TWT,

2010 WL 11603091, at *3 (N.D. Ga. Oct. 19, 2010) (“As there is no unreasonableness apparent from

the face of the documents, the Court did not conduct an in-depth analysis of the attorney’s fees

sought or determine the market rate for Plaintiff’s counsel.”). Here, the Parties conducted written

discovery, briefed an opposed motion for conditional certification, and served third party subpoenas.

Based on the work performed in this case, the attorney’s fees amount represents less than Plaintiff’s

counsel’s lodestar. The Parties’ settlement should be approved in its entirety. See Price v. Atlanta

Financial Associates, Inc., No. 1:10-cv-1601-HLM-WEJ, 2010 WL 11598120, at *3 (N.D. Ga. Nov.

23, 2013) (“Although defendant admits no wrongdoing, paying the amounts agreed upon in

the Settlement Agreement will, or should, spur defendant to ensure future compliance with

its FLSA obligations. Therefore, the undersigned REPORTS that the Settlement Agreement furthers

implementation of the FLSA in the workplace.”).

       WHEREFORE, The Parties respectfully move for Court approval of the negotiated

settlement terms pursuant to Lynn’s Food Stores, Inc. and respectfully request that the Court enter

an Order that:

       a.        Grants the Parties’ Joint Motion for Settlement Approval;

       b.        Approves of the terms of the Agreement as fair and reasonable; and

       c.        Dismisses this action WITH PREJUDICE.


       Respectfully submitted this 25th day of February, 2022.


 /s/ Carl A. Fitz                                /s/Harry M. Rowland, III
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                                 CERTIFICATE OF SERVICE

       I certify that on February 25, 2022, I electronically filed JOINT MOTION FOR

SETTLEMENT APPROVAL with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to the following attorneys of record:

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